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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

 IN RE:                                            §                CASE NO. 17-36174
                                                   §
                                                   §                   CHAPTER 13
 BILLY JOE CRAWFORD, JR. and                       §
 JEAN LANNETT CRAWFORD,                            §                HEARING ON
                                                   §            MOTION TO LIFT STAY:
                                                   §             DECEMBER 11, 2018
 DEBTORS                                           §
                                                   §                 TIME: 9:00 A.M.

                 DEBTORS’ RESPONSE TO MOTION FOR RELIEF FROM
                AUTOMATIC STAY REGARDING POSSESSORY INTEREST
                   IN 18203 MAPLE ARBOR COURT, CYPRESS, TEXAS

TO THE HONORABLE JUDGE OF SAID COURT:

        COME NOW Debtors, BILLY JOE CRAWFORD, JR., and JEAN LANNETT

CRAWFORD, by and through the undersigned attorney, and file this Debtors’ Response to Motion

for Relief from Automatic Stay Regarding Possessory Interest in 18203 Maple Arbor Court,

Cypress, Texas and would respectfully show the Court as follows:

        1.       Debtors ask the Court to deny Movant’s Motion for Relief from Automatic Stay

Regarding Possessory Interest in 18203 Maple Arbor Court, Cypress, Texas.

        2.       It is anticipated that all requests made by the Movant will be resolved prior to or at

the time of the hearing in this matter.

        WHEREFORE, because the factual allegations support a claim upon which the Court may

grant relief to the Debtors, the Court should deny Movant’s Motion for Relief from Automatic Stay

Regarding Possessory Interest in 18203 Maple Arbor Court, Cypress, Texas and grant Debtors all

other relief as just.
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                            Respectfully submitted,

                            WEBB & ASSOCIATES
                            3401 Louisiana Street, Suite 120
                            Houston, Texas 77002
                            (713) 752-0011 Telephone
                            (713) 752-0013 Facsimile



                            BY: /s/ Timothy Webb
                               TIMOTHY WEBB
                                State Bar No. 00797639
                                Attorney for Debtors




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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the above was served on the below individuals via ECF,

unless not available, otherwise by regular first-class mail in accordance with the Federal Rules of

Civil Procedure on December 4, 2018.

                                             /s/ Timothy Webb
                                             TIMOTHY WEBB




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